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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS

                                                           )
                                                           )
    LUCKY’S FAMOUS 23 LLC; LUCKY’S                         )   Case No. 1:25-cv-1765
                                                           )
    FAMOUS LLC; J&D OPERATORS LLC; and                     )   Judge: Hon. Sara Ellis
    BAYLANDER CAFÉ LLC, on behalf of                       )
    themselves and all others similarly situated,          )
                                                           )
                           Plaintiffs,                     )
                                                           )
         v.                                                )
                                                           )
    LAMB WESTON HOLDINGS, INC.; LAMB                       )
    WESTON, INC.; LAMB WESTON BSW, LLC;                    )
                                                           )
    LAMB WESTON/MIDWEST, INC.; LAMB                        )
    WESTON SALES, INC.; MCCAIN FOODS                       )
    LIMITED; MCCAIN FOODS USA, INC.; J.R.                  )
                                                           )
    SIMPLOT CO.; CAVENDISH FARMS LTD; and                  )
    CAVENDISH FARMS, INC.,                                 )
                                                           )
                           Defendants.                     )
                                                           )
                                                           )

         PLAINTIFFS’ UNOPPOSED MOTION TO REASSIGN CASE AS RELATED

          Plaintiffs Lucky’s Famous 23 LLC; Lucky’s Famous LLC; J&D Operators LLC; and

Baylander Café LLC (collectively “Plaintiffs”) hereby respectfully move to reassign this case to

the docket of the Honorable Jeffrey Cummings as part of the Redner’s Markets Docket, Case No.

1:24-cv-11801, under L.R. 40.4. In support of their motion, Plaintiffs state as follows:

          1.      Redner’s Markets, Inc. (“Redner’s Markets”) filed its Complaint (ECF No. 1)1 on

November 15, 2024, alleging, on behalf of itself and a proposed nationwide class of direct

purchasers, violations of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3) by certain

Defendants related to the prices of frozen potato products.



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    Unless otherwise noted, all ECF references are to the Redner’s Markets Docket.


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        2.       Plaintiffs filed their complaint on February 20, 2025 (ECF No. 1 for the Lucky’s

Famous 23 LLC Docket). The complaint is attached as Exhibit A. As with the other Actions

already consolidated into the Redner’s Markets Docket, the present action is a class action

alleging a pattern of anticompetitive conduct which led to the increase of the price of frozen

potatoes during the Class Period. Plaintiffs’ complaint is highly similar to other complaints

already consolidated in the Redner’s Markets Docket.

        3.       This motion meets the requirements under L.R. 40.4(b) for reassignment as

related because (1) this case, like the other cases in the Redner’s Market Docket are all pending

in the United States District Court for the Northern District of Illinois; (2) reassigning this case to

the docket of the Honorable Jeffrey Cummings is likely to result in a substantial savings of time

and effort; (3) this Action, like all actions already in the Redner’s Market Dockt grow out of the

same transaction, namely the alleged anticompetitive conduct; and (4) the classes alleged are

identical to the classes alleged for other commercial and institutional indirect purchaser plaintiff

class actions.

        4.       Plaintiffs in several of the Related Actions have already filed unopposed motions

in this Court pursuant to Local Rule 40.4 seeking to reassign their actions to this Court as related

to this first-filed case. See, e.g., ECF Nos. 9, 11, 43, 49, 50, 115.

        5.       Plaintiffs have not, at this time, served any Defendant.

        6.       On February 13, 2025, this Court entered an order (ECF No. 60) generally

providing for the consolidation of then-outstanding related cases and service of outstanding

actions. Plaintiffs move for reassignment as related under the findings of that order.

        7.       Plaintiff has reached out to Defendants prior to filing, and Defendants have

indicated that they do not oppose the reassignment of this Action to the Court.




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Dated: April 21, 2025                 Respectfully submitted,

                                       /s/ Carl V. Malmstrom
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